       Case 23-21225-RG           Doc 195-1 Filed 07/11/24 Entered 07/11/24 17:17:07                      Desc
                                    Notice of Order Entry Page 1 of 1
Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 23−21225−RG
                                         Chapter: 7
                                         Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Freight Connections Inc.
   1 Bell Dr
   Ridgefield, NJ 07657
Social Security No.:

Employer's Tax I.D. No.:
  61−1795163




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on July 11, 2024, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 195 − 190
Order Granting Motion For Other Sanctions re: Failure To Comply With A Valid Order Of This Court (Related Doc
# 190). Service of notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. See
BNC Certificate of Notice. Signed on 7/11/2024. (car)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: July 11, 2024
JAN: car

                                                                  Jeanne Naughton
                                                                  Clerk
